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The following constitutes the ruling of the court and has the force and effect therein described.




Signed October 4, 2022
______________________________________________________________________




                                 UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS



     In re:                                                            Chapter 11
     STUDIO MOVIE GRILL HOLDINGS, LLC1, et                             Case No. 20-32633-SGJ
     al.,
                                                                       Jointly Administered
                                         Reorganized Debtors.


              STIPULATION BETWEEN CONTINENTAL CASUALTY COMPANY
            AND ITS APPLICABLE AFFILIATES AND THE REORGANIZED DEBTORS
         RESOLVING PENDING CNA ADMINISTRATIVE EXPENSE CLAIM AND PENDING
                     OBJECTION TO PREPETITION PROOFS OF CLAIM

              This Stipulation (the “Stipulation”) is entered among and between (a) Continental

     Casualty Company and its North American insurance affiliates using the CNA service mark

     (collectively, “CNA”); (b) each of the above-captioned reorganized debtors (“Studio Movie”

     formerly the “Debtors” and now the “Reorganized Debtors”); and (c) Advisory Trust Group,

     LLC (the “GUC Trustee”), solely in its capacity as GUC Trustee of the GUC Trust (the “GUC

     1
      A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
     noticing agent at https://www.donlinrecano.com/Clients/smgh/Index.
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Trust”).     This Stipulation refers to CNA and the Reorganized Debtors collectively as the

“Parties” and each individually as a “Party.” The Parties hereby stipulate and agree as follows:

                                          RECITALS

        A.      On October 23, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy

Code”) in the United States Bankruptcy Court for the Northern District of Texas (the

“Bankruptcy Court”). The Reorganized Debtors continue to act as debtors-in-possession

pursuant to Bankruptcy Code §§ 1107 and 1108.

        B.      On December 21, 2020, the Debtors filed a certain Amended Notice of Executory

Contracts and Unexpired Leases which May be Assumed and Assigned, Pursuant to Section 365

of the Bankruptcy Code, in Connection with the Sale of Substantially All of the Debtors’ Assets

and the Proposed Cure Amounts with Respect Thereto [Dkt. No. 364] (the “Cure Notice”). The

Cure Notice lists several types of insurance policies between the Debtors and CNA, including,

but not limited to, liability, auto, workers’ compensation, liquor liability, and excess liability

insurance policies (collectively, the “Insurance Policies”). See Cure Notice, p. 18. The Cure

Notice proposes a total cure amount of $0 for each of the Debtors’ Insurance Policies with CNA

(the “Proposed Cure Amounts”). See Id. Thus, the Debtors propose that all contracts and

Insurance Policies between CNA and the Debtors may be assumed pursuant to the Debtors’

proposed sale but that no amounts are currently owing to CNA and thus no cure amount exists.

        C.      On January 13, 2021, CNA filed a limited objection to the Cure Notice objecting

to the potential assumption and assignment of the Insurance Policies without CNA’s consent,

objecting to the Proposed Cure Amounts listed in Cure Notice, requesting adequate assurance of

future performance, and otherwise reserving CNA’s rights in connection with the Insurance

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Policies. See Dkt. No. 469 (the “CNA Cure Notice Objection”). The CNA Cure Notice

Objection noted that CNA might be owed a postpetition outstanding balance of at least

$59,843.35.

        D.       On February 15, 2021, CNA filed a motion for allowance of an administrative

expense claim pursuant to 11 U.S.C. § 503(b) [Dkt. No. 641] (the “CNA Administrative

Claim”).       The CNA Administrative Claim noted that CNA might be owed a postpetition

outstanding balance of at least $59,843.35. In addition, the CNA Administrative Claim asserted

an administrative priority claim for any and all postpetition unliquidated amounts owing to CNA.

        E.       On February 19, 2021, CNA filed prepetition proofs of claim against certain of

the Debtors, designated by the Debtors’ claims agent as Claim Nos. 489, 490, 491, 492, and 493

(the “CNA Claim(s)”).

        F.       The Parties continued the Debtors’ response date to the CNA Administrative

Claim from time to time.

        G.       On March 5, 2021, the Notice of Filing of Supplement to the Amended Joint Plan

of Reorganization for Studio Movie Grill Holdings, LLC and Jointly Administered Debtors

[Docket No. 702] (the “First Plan Supplement”).

        H.       On March 31, 2021, the Court entered an order [Dkt. No. 875] (the

“Confirmation Order”) confirming the Debtors’ Fourth Amended Joint Plan of Reorganization

for Studio Movie Grill Holdings, LLC and Jointly Administered Debtors [Dkt. No. 869] (as same

has been or may be further modified, amended, or supplemented from time to time, the “Plan”).

        I.       Pursuant to the Plan and the First Plan Supplement and the Plan, CNA’s Insurance

Policies were assumed in full. However, the First Plan Supplement purported to assert a $0 cure

amount in connection with CNA’s Insurance Policies for a $0 cure amount.

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        J.     In addition, on August 13, 2021, the Debtors filed an objection to the CNA

Administrative Claim [Dkt. 996] (the “SMG Objection”).

        K.     The CNA Administrative Claim asserts CNA’s rights to such amounts and any

other amounts that may have been incurred, or may become due and owing, or may be

discovered to be due and owing, and allocable to the postpetition period. By this Stipulation, the

Parties wish to resolve the CNA Administrative Claim.

        L.     In addition, by this Stipulation, and in connection with the assumed CNA

Insurance Policies, the Parties wish to resolve outstanding issues relating to unpaid premiums

and related amounts and CNA’s setoff rights in connection with the foregoing.

        M.     More specifically, the Parties wish to apply certain amounts of credits and other

amounts owing from CNA to the Reorganized Debtors against unpaid premium and related

amounts owing from the Reorganized Debtors to CNA (the “Present Setoff”). Relatedly, the

Reorganized Debtors wish to enter into a payment plan to pay to CNA premium and related

amounts that would continue to be outstanding after implementation of the Setoff Application.

        N.     In addition, the Parties wish to implement and obtain authorization from the Court

to continue effectuating setoffs and/or recoupments, pursuant to the terms and conditions of the

applicable Insurance Policies, related agreements, and other applicable law, of any and all

amounts owing between them in connection with any of the Insurance Policies or related

agreements, all in the ordinary course of business pursuant to the various Insurance Policies and

related agreements (the “Ongoing Setoff”).

        O.     In addition, on July 11, 2022, the Reorganized Debtors and Advisory Trust

Group, LLC (the “GUC Trustee”), solely in its capacity as GUC Trustee of the GUC Trust (the

“GUC Trust”) jointly filed the GUC Trustee and Reorganized Debtors’ Joint Second Omnibus

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Objection to Claims (Duplicate) [Dkt. 1097] (the “Second Omnibus Claims Objection”). The

Second Omnibus Objection states, in relevant part, that the “Plan was premised on the

consolidation of the Debtors for the purposes of distributions to holders of unsecured claims” and

that “[a]ccordingly, the same claim filed against multiple debtors is to be treated as a single

claim for purposes of claim allowance and distribution under the Plan and GUC Trust.” Id., ¶ 5.

Among other requests for relief, the Second Omnibus Claims Objection seeks to disallow and

expunge CNA Claim Nos. 490, 491, 492, and 493 as duplicative, and to permit one claim filed

by CNA, CNA Claim No. 489, to survive and to be unaffected by the Second Omnibus

Objection.

                                           AGREEMENT

        NOW THEREFORE, in consideration of the foregoing recitals and other good and

valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the

Parties hereby agree as follows:

        1.      The recitals set forth above are incorporated herein by reference and are made an

integral part of this Stipulation.

        2.      The Parties agree that, in accordance with the terms and conditions set forth in the

Plan and the First Plan Supplement, CNA’s Insurance Policies were assumed in full.

        3.      The Parties further agree that, in accordance with the terms and conditions set

forth in the Plan and the First Plan Supplement, all outstanding obligations owing from the

Reorganized Debtors on account of the Insurance Policies, whether attributable to the period

before or after the Petition Date, if any, shall be paid in full. For the avoidance of doubt, the

Reorganized Debtors shall pay to CNA, in the ordinary course, all outstanding amounts owing to

CNA, if any, as set forth in the prior sentence of this paragraph, regardless of the cure amounts

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listed for the Insurance Policies at Exhibit I of the First Plan Supplement or in any other related

filings purporting to set forth some other cure amount or amounts.

           4.   On or before the third business day following (i) approval and entry of this

Stipulation by the Bankruptcy Court and (ii) the order approving this Stipulation becoming final

and nonappealable, with no further objections to or appeals from such order pending (the

“Effective Date”), CNA shall file a notice of withdrawal, or take such other or similar action as

necessary, to withdraw the CNA Administrative Claim, and the Reorganized Debtors shall file a

notice of withdrawal, or take such other or similar action as necessary, to withdraw the SMG

Objection.

           5.   For the avoidance of doubt, by Court approval of this Stipulation, the automatic

stay is modified to the extent necessary to implement the Present Setoff. More specifically, the

Parties agree to effectuate and implement the Present Setoff resulting in a net balance of

approximately $1,259,699.17 plus certain unliquidated and ongoing amounts owing to CNA (the

“Outstanding Amount”).        The Outstanding Amount includes premium, policy renewal

payments, and outstanding deductible amounts, among other charges. The Outstanding Amount

is subject to further revision, reconciliation, and adjustment in the ordinary course as claims

reconciliation continues and pending the completion of certain policy audits. The Reorganized

Debtors agree to promptly enter into a payment plan with CNA whereby the Reorganized

Debtors promise to repay the Outstanding Amount on a go forward basis.

           6.   In accordance with the assumption of the Insurance Policies and related

agreements, the Parties agree to effectuate and implement the Ongoing Setoff, all in the ordinary

course of business pursuant to the various Insurance Policies and related agreements between the

Parties.

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        7.     For the avoidance of doubt, by the Court’s approval of this Stipulation, the Parties

shall be entitled and authorized to effectuate and implement as necessary and appropriate the

Ongoing Setoff on an ongoing basis and in the ordinary course of business.

        8.     In resolution of the Second Omnibus Claims Objection as it pertains to the CNA

Claims, the Parties agree that CNA Claims 489, 490, 491, and 492 shall be withdrawn as

duplicative. CNA Claim No. 493 is an amended version of CNA Claim No. 489, filed against

lead Reorganized Debtor Studio Movie Grill Holdings, LLC. CNA Proof of Claim 493 shall not

be withdrawn or disallowed. CNA Claim No. 493 shall constitute CNA’s surviving claim and all

rights asserted by and in such a claim are preserved to the fullest extent possible. Nothing in this

Stipulation shall impact, impair, or otherwise affect the Parties’ rights, arguments, and/or

defenses in connection with the surviving CNA Claim, i.e. CNA Claim No. 493.

Notwithstanding the foregoing, CNA disclaims any right to receive distributions from the GUC

Trust on account of its surviving prepetition claim.

        9.     Nothing in this Stipulation shall impact, impair, or otherwise affect the

Reorganized Debtors rights to receive reimbursement or credits related to periodic audits of

insurance premiums or any other amounts due and owing to the Reorganized Debtors by CNA,

as and when such amounts are due and payable under the insurance program, and subject to any

of CNA’s applicable rights of setoff and recoupment.

        10.    This Stipulation will be deemed “preference neutral,” and will neither enlarge nor

reduce any claims or defenses that may be available to either Party in any litigation between the

Parties under 11 U.S.C. § 547.




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        11.     This Stipulation may be executed in multiple counterparts, any of which may be

transmitted by facsimile or e-mail, and each of which shall be deemed an original but all of

which together shall constitute one and the same instrument.

        12.     This Stipulation constitutes the entire agreement between the Parties and

supersedes all prior or contemporaneous written or oral communications, understandings, and

agreements with respect to the subject matter hereof. This Stipulation cannot be amended except

by an authorized written agreement signed by each of the Parties.

        13.     The Reorganized Debtors, the Reorganized Debtors’ claims agent, Donlin Recano

& Company, Inc., and the Clerk of the Bankruptcy Court are authorized to take all necessary and

appropriate actions to give effect to this Stipulation.

        14.     This Stipulation is subject to approval by the Bankruptcy Court and the

Bankruptcy Court shall retain jurisdiction to resolve any disputes or controversies arising from or

relating to this Stipulation.

        IT IS SO ORDERED.

                                      ### END OF ORDER ###




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STIPULATED AND AGREED:

September 29, 2022                                 September 29, 2022

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